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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
-oOo-
UNITED STATES OF AMERICA, COMPLAINT
i No. 2:20-mj-00464-BNW
Plaintiff Magistrate No mj
VS. VIOLATIONS:
TYREE WALKER, Counts One:
18 U.S.C. § 844(n) - Conspiracy to Commit
DEVARIAN HAYNES, and Arson; and
RICARDO DENSMORE,
Counts Two:
Defendants. 18 U.S.C. §§ 844() and 2-— Arson

 

 

BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
| Complainant, being duly sworn, deposes and states:

C TONE
(Conspiracy to Commit Arson)

On or about May 31, 2020, in the State and Federal District of Nevada,

TYREE WALKER,
DEVARIAN HAYNES, and

 

 
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RICARDO DENSMORE,
defendants herein, did knowingly and willfully combine, conspire, confederate, and agree with

each other and with others known and unknown to the grand jury, to maliciously damage and
destroy, and attempt to damage and destroy, by means of fire and explosive materials a vehicle,
to wit: a marked Las Vegas Metropolitan Police Patrol Unit, used in interstate and foreign
commerce and in activities affecting interstate and foreign commerce, all in violation of Title

18, United States Code, Section 844(n).

COUNT TWO
(Arson)

On or about May 31, 2020, in the State and Federal District of Nevada,

TYREE WALKER,
DEVARIAN HAYNES, and
RICARDO DENSMORE,

defendants herein, maliciously damaged and destroyed, and attempted to damage and destroy,
by means of fire and explosive materials a vehicle, to wit: a marked Las Vegas Metropolitan
Police Patrol Unit, used in interstate and foreign commerce and in activities affecting interstate

and foreign commerce, all in violation of Title 18, United States Code, Sections 844(i) and 2.

AFFIANT EXPERIENCE *

1. Iam a Certified Fire Investigator with the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF), Department of Justice, and have been so employed since June 18, 2001.
I was previously employed for six years as a Special Agent with the Internal Revenue Service —
Criminal Investigation Division (IRS-C]). I graduated from the Federal Law Enforcement
Training Center and the ATF National Academy where I received specialized training on

criminal violations of federal firearms statutes, including the Gun Control Act (Title 18, United

 
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States Code), including the possession and use of firearms in relation to violations of federal
narcotics statutes (Title 21, United States Code). As a Certified Fire Investigator and Special
Agent with the Bureau of Alcohol, Tobacco and Firearms, I am vested with the authority to
investigate violations of federal laws, including Titles 18 and 26, United States Code. Iam
currently assigned to the ATF Las Vegas Field Office, which specializes in federal firearms
violations and the reduction of violent crime, including gang activity and narcotics violations.
As a Certified Fire Investigator, I have examined approximately 130 fire scenes and am familiar
with the various federal arson laws.

2. I have been involved in an investigation, which is the subject of this Affidavit.
Due to my personal participation in this investigation and reports made to myself, by other
ATF agents, FBI Agents, Las Vegas Metropolitan Police Department (LVMPD) Detectives,
and other law enforcement officers, I am familiar with the facts and circumstances
surrounding the investigation. While I have participated in the below described investigation,
I have not provided every fact learned in this Affidavit. Rather, I include only those facts
necessary to establish probable cause in support of the search warrant requested herein. Facts

not set forth herein are not being relied upon in reaching my conclusion that the requested

warrant should be issued based on the probable cause contained herein.

3. The following information contained within this criminal complaint is based
upon your Affiant’s participation in this investigation or was provided to him by other law
enforcement personnel. I have not included every fact known to me concerning these offenses.
I have set forth only the facts I believe are essential to establish the necessary foundation for this

complaint. Ail times noted are approximate.

 
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FACTS ESTABLISHING PROBABLE CAUSE

4. On May 31, 2020 at approximately 12:07 a.m., Las Vegas Fire and Rescue
(LVFR) responded to and suppressed a vehicle fire involving a Las Vegas Metropolitan Police
Department (LVMPD) patrol unit parked near the intersection of South Ninth Street and East
Carson Avenue in Las Vegas, Nevada. The police patrol vehicle was parked in the area
because LVMPD officers were assigned to crowd control relating to the protest of the death of
George Floyd in Minneapolis, Minnesota. Responding firefighters observed heavy smoke
from the passenger compartment upon arrival. Firefighters suppressed the fire and requested
fire investigators.

5. The marked unit was readily identifiable as a law enforcement vehicle by
markings on all sides of the vehicle. Your affiant has observed fire damage throughout the
passenger compartment of the vehicle. The most significant fire damage is located on the front
passenger side of the vehicle. On the front passenger seat of the vehicle your affiant observed a
melted and deformed red gas can. A portion of a “Truly Hard Seltzer” white cardboard
container was stuck to the gas can. As your affiant removed the gas can from the passenger
seat, liquid, which could readily be identified by smell as gasoline, spilled from the gas can.

oS. On May 31, 2020, a video located by LVMPD investigators captured the events.
The video begins as an individual, later identified by law enforcement through social media
photos and accounts as defendant RICARDO DENSMORE, recording the incident,
approached two males, later identified by law enforcement through social media photos and
accounts as defendants TYREE WALKER and DEVARIAN HAYNES. As WALKER
poured a liquid from the red gas can onto a white object, the defendants can be heard discussing
pouring the liquid directly on the patrol vehicles. WALKER approached one of the patrol

vehicles but quickly moved to the patrol vehicle parked directly behind the first vehicle, where

 
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he was joined by HAYNES carrying the gas can. Through a broken or missing front passenger
side window, WALKER ignited the white object using a butane lighter. WALKER stood
immediately adjacent while HAYNES poured liquid from the gas can through the broken or
missing window into the vehicle. As the fire ignited, the sound of a siren from an approaching
LVMPD vehicle can be heard on the video. WALKER dropped the unknown white object,
which was on fire, into the patrol vehicle. HAYNES dropped the gas can inside the patrol
vehicle. The defendants fled on foot as the video immediately ends. An image from

DENSMORE'’s video of WALKER and HAYNES starting the fire is shown below.

 

7. Your A ffiant has identified the buildings in the backgr6und of the above-
described video, which place the location of the video as the intersection of East Carson
Avenue and South Ninth Street.

8. Based upon the examination of the marked unit and review of the video
evidence, your Affiant determined the fire to be incendiary; an intentional act, set by human
hands through the use of a transient ignition source, such as a butane lighter, and common

combustibles.

 
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9. Following his arrest on June 3, 2020, DENSMORE waived his Miranda rights
both verbally and in writing. In sum and substance, DENSMORE admitted to his participation
with WALKER and HAYNES in committing the arson of the LVMPD patrol car.

10. Following his arrest on June 3, 2020, HAYNES waived his Miranda rights both
verbally and in writing. In sum and substance, HAYNES admitted to his participation with
DENSMORE and WALKER in committing the arson of the LVMPD patrol car.

11. Following his arrest on June 3, 2020, WALKER waived his Miranda rights both
verbally and in writing. In sum and substance, WALKER admitted to his participation with
DENSMORE and HAYNES in committing the arson of the LVMPD patrol car.

12. The LVMPD vehicle the defendants conspired to and did set on fire is property
of the Las Vegas Metropolitan Police Department and Clark County, Nevada Government,
and a vehicle used in interstate and foreign commerce and in an activity affecting interstate and
foreign commerce. Both the LVMPD and the Clark County Government conduct business in
interstate commerce, for instance by purchasing vehicles and other equipment and supplies in
interstate commerce. The activities of the LVMPD and the Clark County Government in acting
and enforcing laws also affect interstate commerce. Additionally, investigators have verified
that this particular LVMPD vehicle was manufactured outside of the state of;Nevada.

CONCLUSION

Based on the above facts and circumstances, your Complainant believes there is
probable cause that TYREE WALKER, DEVARIAN HAYNES, and RICARDO
DENSMORE did commit violations of 18 U.S.C. § 844(n) ~ Conspiracy to Commit Arson; and

18 U.S.C. §§ 844(i) and 2 — Arson.

 
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Respe y Submitted

Jeffrey Nardiello

Special Agent

Bureau of Alcohol, Tobacco, Firearms and
Explosives

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

  

 

 

telephone on this 4th day of June, 2020. vaitt
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